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                     UNITED STATES DISTRICT COURT

                         MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION


Samantha M. Markle,                     Case No. 8:22-cv-00511-CEH-TGW

            Plaintiff,

      vs.
Meghan Markle,

            Defendant.


 DEFENDANT’S MOTION FOR LEAVE TO FILE REPLY IN SUPPORT OF
  MOTION TO DISMISS AND REQUEST FOR JUDICIAL NOTICE, AND
           INCORPORATED MEMORANDUM OF LAW
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      Pursuant to Local Rules 3.01(c) and (d), Defendant Meghan, The Duchess of

Sussex, sued as “Meghan Markle” (hereafter, “Meghan”), by and through

undersigned counsel, respectfully moves this Court for leave to file a reply

memorandum in further support of her Motion to Dismiss First Amended Complaint

(Doc. 34) and her Request for Judicial Notice (Doc. 35) of no more than 10 pages in

length, no later than 10 days after the grant of this Motion.

      Under the Local Rules, a party may not file a reply memorandum “unless the

Court grants leave.” MD. Fla. Local Rule 3.01(c). As this Court has previously

recognized, “[t]he purpose of a reply brief is to rebut any new law or facts contained

in the opposition’s response to a request for relief before the Court.” Montgomery

Bank, N.A. v. Alico Road Business Park, LP, 2014 WL 3828406, at *3 (M.D. Fla. Aug.

4, 2014) (internal quotation omitted).

      Here, Plaintiff’s Opposition to Defendant’s Motion to Dismiss and supporting

Affidavit (Docs. 41-42) introduces new factual and legal arguments that, though

meritless, do warrant a response.

      For example, Plaintiff argues that it is sufficient to assert that “the false

information contained in the book [Finding Freedom] came from the Duchess herself,

through her agent and communications secretary.” (Doc. 41 at 2, italics added.) Meghan

requests leave to explain why, even assuming the truth of this factual assertion,

nothing short of actual authorship satisfies the publication element. A reply will also

address why, under Twombly and Iqbal, the bare assertion that Meghan “had control

over what was put in the book” (id. at 3-4) is implausible.
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       Plaintiff also argues that a statement about the number of times the parties

“‘crossed paths … since they grew up’” is “one of fact, and not opinion.” (Id. at 8-9,

italics added.) Even if one were to assume that it is, Meghan’s reply will establish

why the “evidence” Plaintiff postulates 1 does not undermine its substantial truth.

Similarly, Plaintiff contends that this statement was defamatory because it harmed

her reputation—without citing a single case involving such an innocuous statement.

(Id. at 9-10.) She also argues that Meghan stating that she grew up as an “only child”

is tantamount to calling “Mrs. Markle [ ] a prevaricator who [is] attempting to cash

in on the fact that her barely known half-sister married into the royal family”—again

without citing a single case addressing the closeness (or lack thereof) of a familial or

social relationship. (Id. at 10.) Meghan requests leave to respond to both arguments.

       With respect to her injurious falsehood claim, Plaintiff appears to contend that

the differing damages she seeks for defamation (i.e., emotional distress damages) and

injurious falsehood (injury to her “trade, business,” etc.) precludes application of the

single action rule. (Id. at 15-16.) Meghan’s reply will cite cases to the contrary.

Plaintiff also argues that under Rule 8’s “liberal pleading requirements,” she need not

plead special damages, e.g., lost earnings from her book, The Diary of Princess Pushy’s

Sister (Id. at 17.) Meghan’s reply will explain the interplay between Rules 8(a) and

9(g) (“If an item of special damage is claimed, it must be specifically stated.”).



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 Namely, that she “drove the Duchess to school growing up, helped her with her homework,
… lived together at one [unspecified] point,” and saw her at Plaintiff’s “college graduation in
New Mexico.” (Id. at 8-9, italics added.)

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       Plaintiff’s Objection to Request for Judicial Notice and supporting Affidavit

(Docs. 38-39) also calls for a reply. First, Plaintiff asserts that Chapter 12 of Finding

Freedom is not subject to judicial notice because its contents are “voluminous and …

are not ‘common knowledge’ within the community” (Doc. 38 at 2-3)—without

addressing any of the cases holding that the supposedly defamatory material at issue

is subject to judicial notice. Second, Plaintiff acknowledges that the Court “may take

judicial notice of documents filed in other courts,” but professes to be unaware of

whether Meghan seeks to “take judicial notice of the substance and conclusions of

the documents, or the mere showing that documents were filed.” (Id. at 4.) Meghan’s

reply will clarify the purpose of the notice sought, as well as rebut the contention that

she must seek judicial notice of the “underlying documents.” (Ibid.) Third, Plaintiff

argues that “non-governmental websites” such as Wikipedia “are not proper subjects

of judicial notice.” (Id. at 5-6.) Meghan’s reply will address cases involving the

nation’s newspapers of record, and clarify that she is not citing the articles at issue for

the truth of when she began dating Prince Harry, only that it was widely reported at

the time. Fourth, Plaintiff contends that Plaintiff’s statements in an interview with

Good Morning Britain are “subject to reasonable dispute.” (Id. at 6-7.) Meghan’s reply

will address why Plaintiff’s own television interview exhibited on a verified YouTube

channel is not subject to reasonable dispute at all.

       WHEREFORE, Meghan respectfully requests that the Court grant her leave

to file a 10-page reply memorandum, no later than 10 days after the grant of this

Motion, and for any other relief deemed just and proper.
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                    LOCAL RULE 3.01(G) CERTIFICATION

      Pursuant to Local Rule 3.01(g)(2), Meghan, The Duchess of Sussex hereby

certifies that the parties met and conferred by telephone, but could not agree to

resolve any part of the instant motion.

      RESPECTFULLY SUBMITTED this 14th day of July, 2022
                                      KINSELLA WEITZMAN ISER KUMP
                                      HOLLEY LLP


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                          CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that the foregoing has been furnished to all parties

registered to receive service via CM/ECF this 14th day of July, 2022.



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